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1    BENJAMIN B. WAGNER
     United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2918
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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S-08-0197 GEB
12               Plaintiff,           )
                                      )   STIPULATION AND [PROPOSED]
13                                    )   ORDER CONTINUING SENTENCING
          v.                          )   HEARING AND MODIFYING PRE-
14                                    )   SENTENCE REPORT DISCLOSURE
     MICHAEL CRAIG DENNIS,            )   SCHEDULE
15                                    )
                 Defendant.           )    DATE: December 2, 2011
16                                    )    TIME: 9:00 a.m.
                                      )    COURT: Hon. Garland E. Burrell,
17                                    )          Jr.
                                      )
18
19
20        IT IS HEREBY STIPULATED by and between Plaintiff United
21   States of America and Attorney Hugh Anthony Levine, Counsel for
22   Defendant Michael Dennis, that the sentencing hearing date of
23   December 2, 2011, be continued to March 2, 2012, at 9:00 a.m.
24        The request to continue the sentencing hearing is made on
25   the ground that the parties require additional time to develop
26   and present pertinent information bearing upon defendant’s
27   sentence.    Defendant has previously entered a guilty plea.
28   Continuing the sentencing hearing therefore has no bearing on

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1    time considerations under the Speedy Trial Act.        The parties have
2    consulted with the United States Probation Office to confirm that
3    the requested date is acceptable to that office.
4         Hugh Anthony Levine agrees to this request and has
5    authorized Assistant United States Attorney Todd D. Leras to sign
6    this stipulation on his behalf.
7
8    DATED: November 30, 2011           By: /s/ Todd D. Leras
                                            TODD D. LERAS
9                                           Assistant U.S. Attorney
10
11   DATED: November 30, 2011           By: /s/ Todd D. Leras for
                                            HUGH ANTHONY LEVINE
12                                          Attorney for Defendant
                                            MICHAEL DENNIS
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28        IT IS HEREBY ORDERED:

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1         The sentencing hearing set for December 2, 2011, is
2    continued to March 2, 2012, at 9:00 a.m.
3    Dated:    December 1, 2011
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5                                     GARLAND E. BURRELL, JR.
6                                     United States District Judge

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